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United Slaiee Bankrtlplcy Ccurt for iha: DISTRlCT OF NEW MEX|CO

 

 

 

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Of&cial Form 108

Statement of intention for individuals Fi|lng Under Chapter 7 wis

 

ll you are an individual filing under chapter 7. you must liii out this form li:
l creditors have claims secured by your property. or

l you have towed personal property and the lease has not explred.

You must liie this term with thecourt within 30 days after you tila your bankruptcy petition or by tire date set for the meeting of creditore.

whi‘r':thett;er is oeriler, unless the court extends the time lor cause. You meat also send copies to the creditors and lessors you list
on e nn

ll two married people are filing together in a joint oase. both are equally responsible for supplying correct inlormetion. Botir debtors mmt
sign and date tire iorrn.

Be as complete and accurate as poesible. lt more space is needed, attach a separate street to this form. On the top of any additional pagee.
write your name end case number (ii known).

m gt Your Credltore th ttave Bacured Ctaims

l. For any creditors that you listed in part ‘l el Bchedule D: ¢redltors Who Have Cialms Secured by Pmperty (Oflloial Form 1080), iill in tire
information beiow.

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Oi&clal Form 108 statement or intentlon for individuals Flllng under chapter 7 page 1
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m List Your lineuple Psrsonal Prog§r_ty l.eases '

For any unexpired personal property lease that you listed in achedule G: Errsoutory Contraote and unexpired leases (Orticlal Form 1036}. tlll
in tire information below. Do not list real estate leases. linaxplred leases are leases that are still in effect; the lease period has not yet ended.
‘lou may assume an unexpired personal property lease litho trustee does not assume lt. 11 ti.8.c. § 388{p)(2).

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Otlicial Form 108 statement of intention for individuals Fillng under Cnapter 1

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